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               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION

                            In re 23andMe, INC. MDL No. 1:23-P-47

                                 SCHEDULE OF ACTIONS

      Case Captions                Court            Civil Action No.        Judge
Plaintiffs: Monica            Northern District 3:23-cv-05147          Hon. Edward M.
Santana And Paula             of California                            Chen
Kleynburd, On Behalf Of       (San Francisco
Themselves And All            Division)
Others Similarly Situated
Defendant: 23andMe,
Inc.

Plaintiff: Kerry Lamons,      Northern District 5:23-cv-05178          Hon. Edward M.
Individually and on behalf    of California                            Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Michelle           Northern District 5:23-cv-05198          Hon. Edward M.
Andrizzi, individually and    of California                            Chen
on behalf of all others       (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Bonnie Eden,       Northern District 4:23-cv-05200          Hon. Haywood
Daniel Pinho, Thomas          of California                            S. Gilliam, Jr.
Seawright And Pamela          (San Francisco
Zager-Maya, on behalf of      Division)
themselves and all others
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: J.S., J.T., and    Northern District 5:23-cv-5234           Hon. Edward M.
A.L., individually and on     of California                            Chen
behalf of all others          (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc., 23andMe Holding
Co., 23andMe Pharmacy
Holdings, Inc.
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Plaintiff: Haris Mirza,       Northern District 23-cv-05259     Hon. Edward M.
individually and on behalf    of California                     Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Katianne           Northern District 4:23-cv-05281   Hon. Edward M.
Navarro and Michael           of California                     Chen
Blackwell, individually,      (San Francisco
and on behalf of all others   Division)
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: Caroline           Northern District 5:23-cv-05302   Hon. Edward M.
Greenberg, individually       of California                     Chen
and on behalf of all others   (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Nichole Friend,    Northern District 4:23-cv-05323   Hon. Edward M.
Aaron Parra, And Mari         of California                     Chen
Rajamin, individually, and    (San Francisco
on behalf of all similarly    Division)
situated individuals
Defendant: 23andMe
Holding Co, A California
Corporation; And Does 1
Through 50, Inclusive
Plaintiff: Alexandra          Northern District 5:23-cv-05332   Hon. Edward M.
Hoffman and Alexandra         of California                     Chen
Klawitter, individually       (San Francisco
and on behalf of all others   Division)
similarly situated
Defendant: 23andMe,
Inc.
Plaintiff: Adriane            Northern District 3:23-cv-05341   Hon. Edward M.
Farmer, individually and      of California                     Chen
on behalf of all others       (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Melanie            Northern District 23-CV-05345     Hon. Edward M.
Berman, Lisa Jones, Lyon      of California                     Chen
Leifer, Kathleen Canfield     (San Francisco
Loftus, Julia Hawkins,        Division)
individually and on behalf
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of all others similarly
situated
Defendant: 23andMe,
Inc.
Plaintiff: David              Northern District 5:23-cv-05369   Hon. Edward M.
Tulchinsky, individually      of California                     Chen
and on behalf of all others   (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Stephen L.         Northern District 5:23-cv-05419   Hon. Edward M.
Seikel, individually and on   of California                     Chen
behalf of all others          (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Elaine Fralix,     Northern District 5:23-cv-05439   Hon. Edward M.
individually and on behalf    of California                     Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Harold Velez,      Northern District 3:23-cv-05464   Hon. Edward M.
on behalf of himself and      of California                     Chen
all others similarly          (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Laquisha           Northern District 5:23-cv-05548   Hon. Edward M.
Smith, individually and on    of California                     Chen
behalf of all others          (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Max Alperstein     Northern District 5:23-cv-5541    Hon. Edward M.
And Arya Shoaee,              of California                     Chen
individually, and on behalf   (San Francisco
of all others similarly       Division)
situated
Defendant: 23andMe,
Inc.
Plaintiff: Nicholas Furia,    Northern District 4:23-cv-05565   Hon. Edward M.
on behalf of himself and      of California                     Chen
all others similarly          (San Francisco
situated                      Division)
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Defendant: 23andMe,
Inc.
Plaintiff: Michael            Northern District 3:23-cv-05579   Hon. Donna M.
Schutz, Cody Vogel, and       of California                     Ryu
Eileen Mullen,                (San Jose
individually and on behalf    Division)
of all others similarly
situated
Defendant: 23andMe,
Inc.
Plaintiff: Thomas             Northern District 3:23-cv-05635   Hon. Edward M.
Vickery, individually and     of California                     Chen
on behalf of all others       (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Brianna            Northern District 5:23-cv-05677   Hon. Edward M.
Sorensen, and all similarly   of California                     Chen
situated individuals          (San Francisco
Defendant: 23andMe,           Division)
Inc.
Plaintiff: John Doe,          Northern District 3:23-cv-05717   Hon. Edward M.
Individually and on behalf    of California                     Chen
of all others similarly       (San Francisco
situated                      Division)
Defendant: 23andMe,
Inc.
Plaintiff: Briana Dube,       Northern District 5:23-cv-05768   Hon. Edward M.
Individually And On           of California                     Chen
Behalf Of All Others          (San Francisco
Similarly Situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Brandon            Northern District 5:23-cv-05779   Hon. Edward M.
Molina, individually and      of California                     Chen
on behalf of all others       (San Francisco
similarly situated            Division)
Defendant: 23andMe,
Inc.
Plaintiff: Melissa Ryan,      Northern District 3:23-cv-05968   Hon. Donna M.
individually and on behalf    Of California                     Ryu
of all others similarly       (San Jose
situated                      Division)
Defendant: 23andMe,
Inc.
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Plaintiff: Tracy Scott,      Northern District 3:23-cv-05980         Hon. Laurel
Anna Daveiga, And Emily      Of California                           Beeler
Beale On Behalf Of           (San Francisco
Themselves And All           Division)
Others Similarly Situated
Defendant: 23andMe
Holding Co. And
23andMe, Inc.
Plaintiff: Polina Ioffe,     Northern District 5:23-cv-06205         Hon. Nathanael
individually and on behalf   of California                           Cousins
of all others similarly      (San Francisco
situated                     Division)
Defendant: 23andMe,
Inc.
Plaintiff: Kristen Rivers,   Northern District 3:23-cv-06481         Hon. Donna M.
individually and on behalf   of California                           Ryu
of all others similarly      (San Jose
situated                     Division)
Defendant: 23andMe,
Inc., 23andMe Holding
Co.

Plaintiff: Dhaman Gill,      Central District   8:23-cv-02387-FWS-   Hon. Fred W.
individually and on behalf   of California      DFM                  Slaughter
of all others similarly      (Southern
situated                     Division)
Defendant: 23andMe,
Inc.
Plaintiff: Michele Bacus,    Northern District 1:23-cv-16828         Hon. Manish S.
individually and on behalf   of Illinois                             Shah
of all others similarly
situated
Defendant: 23andMe,
Inc.
